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                  UNITED STATES DISTRICT COURT
     FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.1)
                               Eastern Division

LKQ Corporation, et al.
                                        Plaintiff,
v.                                                        Case No.: 1:21−cv−05854
                                                          Honorable Jorge L. Alonso
General Motors Company, et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, November 13, 2024:


       MINUTE entry before the Honorable M. David Weisman: Plaintiffs' unopposed
motion to seal [195] is granted. Motion hearing set for 11/19/24 is stricken. Mailed notice
(ao, )




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